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                        Lorain County Auditor
                        Craig Snodgrass, CPA, CGFM
 Report generated: Wed Oct 23 2024
 Parcel Number: 0201003203008

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 Parcels
 Parcel Number                                      0201003203008              Land Use               621
                                                    ALL AMERICAN HOME                                 30500 - LORAIN
 Owner                                                                         Neighborhood
                                                    RENOVATIONS LLC                                   DOWNTOWN
                                                    125 W 29TH ST LORAIN,
 Location Address                                                              Acres                  0
                                                    OH 44055
                                                    616 E 33RD ST LORAIN,
 Tax Bill Mailed To                                                            School District        LORAIN CSD
                                                    OH 44055
 Property Description                               M & F 50 X 132             Instrument Number
                                                    42 - LORAIN
 Tax District                                                                  Delinquent Real Estate No
                                                    CITY/LORAIN CSD

 Values
 Market Land Value                                                             $8,360.00
 Market Building Value                                                         $63,570.00
 Market Total Value                                                            $71,930.00
 Market CAUV                                                                   $0.00
 Market Abatement                                                              $0.00
 Assessed Land Value                                                           $2,930.00
 Assessed Building Value                                                       $22,250.00
 Assessed Total Value                                                          $25,180.00
 Assessed CAUV                                                                 $0.00
 Assessed Abatement                                                            $0.00
                                    The 2023 values have been certified by the State of Ohio.




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 Taxes
 Gross Full Year Tax                                                       Special Assessment
                                                                           Delinquent Special
 State Credit
                                                                           Assessment
 Subtotal               $                                                  Unpaid Taxes
 Non-Business Credit                                                       Total Taxes Owed
 Owner Occupancy Credit                                                    Total Taxes Paid
 Homestead Credit                                                          Special Assessments       N
 Net Tax
   Your 2023 taxes were certified on December 29, 2023. The full year tax includes all unpaid
      taxes and special assessments. Tax amounts may be verified through the Lorain County
    Treasurer’s Office at (440) 329-5787. Mortgage Companies and Title Representatives must
                 request tax information via USPS during tax collection periods.

 Sales
                                                                                                           Number of
 Sale Date                  Sale Amount                Conveyance          Grantor         Grantee
                                                                                                           Parcels
                                                                           RAMOS INES &    NIEVES INES &
 5/3/2006                   $0.00                      2006091945                                          1
                                                                           BETSY           RAMOS BETSY
                                                                           NIEVES INES &   FORFEITURE
 10/26/2022                 $0.00                      2022094828                                          1
                                                                           RAMOS BETSY     STATE OF OHIO
                                                                                           LORAIN COUNTY
                                                                           FORFEITURE      LAND
 2/27/2023                  $0.00                      2023090764                                          1
                                                                           STATE OF OHIO   REUTILIZATION
                                                                                           CORP
                                                                           LORAIN COUNTY
                                                                                           ALL AMERICAN
                                                                           LAND
 7/24/2024                  $0.00                      2024092558                          HOME            1
                                                                           REUTILIZATION
                                                                                           RENOVATIONS LLC
                                                                           CORP

 Residential
 Year Built 1900
 Parcel Number                                                             0201003203008
 Finished Sqft                                                             1,618
 Total Rooms                                                               7
 Bedrooms                                                                  4
 Full Bath                                                                 1
 Half Bath                                                                 0
 Fireplace                                                                 No
 Central AC                                                                No

 Photo




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 Sketch




 Conveyance




 TaxHistory
 Tax Year 2022
 Gross Full Year Tax                      $2,386.98                        Net Tax              $1,318.98
 State Credit                             $933.84                          Special Assessment   $0.00
                                                                           Delinquent Special
 Subtotal                                 1,453.14                                              $0.00
                                                                           Assessment
 Non-Business Credit                      $134.16                          Unpaid Taxes         $0.00
 Owner Occupancy Credit                   $0.00                            Total Taxes Owed     $0.00
 Homestead Credit                         $0.00                            Total Taxes Paid     $0.00
 Tax Year 2021
 Gross Full Year Tax                      $2,385.36                        Net Tax              $1,318.84
 State Credit                             $932.72                          Special Assessment   $0.00
                                                                           Delinquent Special
 Subtotal                                 1,452.64                                              $0.00
                                                                           Assessment
 Non-Business Credit                      $133.80                          Unpaid Taxes         $0.00
 Owner Occupancy Credit                   $0.00                            Total Taxes Owed     $0.00
 Homestead Credit                         $0.00                            Total Taxes Paid     $0.00
 Tax Year 2020
 Gross Full Year Tax                      $2,145.68                        Net Tax              $1,342.36
 State Credit                             $667.44                          Special Assessment   $0.00
                                                                           Delinquent Special
 Subtotal                                 1,478.24                                              $0.00
                                                                           Assessment
 Non-Business Credit    $135.88                                            Unpaid Taxes         $0.00
 Owner Occupancy Credit $0.00                                              Total Taxes Owed     $0.00
 Homestead Credit       $0.00                                              Total Taxes Paid     $0.00




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